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Exhibit A
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ae, COMMONWEALTH OF MASSACHUSETTS
~ %,- SUFFOLK, ss. 0 SUPERIOR COURT

“, ? _ CIVIL ACTION Z Cc
} . NO. —//0

Roe 9. DIUGBANA

PLAINTIFE(S) (PRINT NAME CLEARLY)

LAINT

VIRGIN ALTAN TIC AIRLINE COMPL ,
saya RS CHARLES coeds BRACopt 5 SS oF
SHAI-vIE pet (€-€-0) zs = 53
eSNG (PRINT NAME CLEARLY) : as § 25
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PARTIES 45 Fe

noc

1. Plaintiffs) reside(s) at 237 NEPONSET Viel eoncltbesto/ "Wn Os 02136

Street
UNITED _S TATES

in the County of _{/ "Cf?
9. Deferutant(s) resides) at FYE Vit@ FLEMING WA ¥, CRAWLEY RF fo FU

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FACTS

3. J wal pn a Virgen Al fatttrt plight VS Aj Feb, 12, Q02Y-

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Case 1:24-cv-11334-FDS _ Document1-1 _ Filed 05/20/24 Page 3 of 3

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4. Answer this question only if you are seeking a restraining order against the defendant(s):

Have there been any other Court proceed: ings, crimi ivil, involvi
igs, criminal or civil, involvin
famity members and the defendant or defendant's family members? syou or your

Yes No

If Yes, describe the Court proceeding(s) and its/their status.

&

WHEREFORE, plaintiff demands that:
WUTtice And Ceompeisetion, Co teat

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spec relly from Los ~ LAR. fren Vitgia
Len hte Andl ) elte Airl wd » Thanks ~

SIGNED UNDER THE PENALTIES OF PERJURY.

DATE: 6-25-2024 Lip flor
§ of Plaintiff(s

@)
227 HEPONS ET Valley Pky

Batre pf 02/36
CIE LER-L419-

Telephone

